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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    NORFOLK DIVISION




 UNITED STATES OF AMERICA,

         V.                                                CRIMINAL NO.2:12crl84


 ROBERT PATRICK HOFFMAN,H,

         Petitioner.



                                   OPINION AND ORDER


         This matter comes before the Court on Robert Patrick Hoffman, IPs ("Petitioner")

 Motion for Return of Seized Property ("Motion"). ECF No. 208. For the reasons set forth herein,

 the Court GRANTS IN PART and DENIES IN PART Petitioner's Motion. ECF No. 208.

    I.        PROCEDURAL HISTORY AND FACTUAL BACKGROUND

    On May 8, 2013, Petitioner was named in a one-count Superseding Indictment charging him

 with Attempted Espionage, in violation of 18 U.S.C. § 794(a). ECF No. 50. On August 21,

 2013, after a five-day trial, a jury unanimously found Petitioner guilty, beyond a reasonable

 doubt, of Count One of the Superseding Indictment. ECF No. 118. On November 25, 2013, the

 Court entered a Consent Order of Forfeiture signed by Petitioner, listing numerous electronic

 items to be forfeited pursuant to 18 U.S.C. § 794(d)("Consent Order"). ECF No. 128.

    On February 10, 2014, the undersigned sentenced Petitioner to 360 months of imprisonment.

 ECF No. 142. Petitioner appealed his sentence and on May 5, 2015, the Fourth Circuit affirmed

 this Court's Judgment. United States v. Hoffinan. 612 Fed. App'x 162 (4th Cir. 2015)(opinion

 docketed as amended at ECF No. 194). On June 30, 2016, the clerk docketed Petitioner's

 Motion to Vacate Under 18 U.S.C. § 2255 ("2255 Motion"). ECF No. 203. On February 16,


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 2018, the court denied Petitioner's 2255 Motion. ECF No. 215. Petitioner's Notice of Appeal

 regarding this decision to the Fourth Circuit was filed on May 1, 2018. ECF No. 219. The

 Fourth Circuit dismissed Petitioner's Appeal on September 27,2018. ECF No. 226.

    On June 6, 2017, Petitioner filed the instant Motion for Return of Seized Property

 ("Motion"). ECF No. 208. The United States filed its Response to Petitioner's Motion for

 Retum of Seized Property on August 4, 2017 ("Response"). ECF No. 211. Petitioner filed his

 Reply to Government's Response in Opposition to the Retum of Seized Property on August 21,

 2017("Reply"). ECF No. 212.

    II.        GOVERNING STANDARDS

    Federal Rule of Criminal Procedure 41(g) provides that "[a] person aggrieved by . . . the

 deprivation of property may move for the property's retum." Fed. R. Crim. P. 41(g). However,

 "[t]he Court properly denies a motion for retum of property if the Petitioner lacks entitlement to

 'lawful possession of the seized property, the property is contraband or subject to forfeiture or

 the govemment's need for the property as evidence continues.'" Hill v. United States. 296

 F.R.D. 411,414(E.D. Va. 2013)(quoting United States v. Vanhom. 296 F.3d 713, 719 (8th Cir.

 2002)), affd. 567 F. App'x 202(4th Cir. 2014).

     m.        MOTION FOR RETURN OF SEIZED PROPERTY

    In Petitioner's Motion, he requests retum of the following:

          1)     All physical items/devices seized from his home that are not listed in [the Consent
                 Order ofForfeiture], and;

          2)     Copies of all electronic media (i.e., family and professional photos, videos and
                 documents) in their original file format, from the devices forfeited pursuant to
                 [the Consent Order of Forfeiture].

      ECF No. 208 at 4. Petitioner argues that he is entitled to the requested relief under because

 such "items were never forfeited, have never been considered contraband, are in the
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 government's possession and are unresponsive to his .. , 28 U.S.C. § 2255 motion." Id As to

 the first category of items Petitioner requests (those physical items/devices not listed in the

 Consent Order), Petitioner offers no argument as to what these items are or why they should be

 returned. Regarding the second category of requested items, Petitioner notes that "[t]he devices

 seized . . . contain over two decades worth of Petitioner's family's life, professional life and

 countless other documents stored electronically." ECF No. 208 at 3. Petitioner argues that he is

 not requesting the "the forfeited devices themselves" but rather, such "family and professional

 photos, videos and files on his seized devices." Id at 6.

    In response, the Government sets forth three categories of Petitioner's property, some of

 which the Government argues must not be returned. ECF No. 211 at 3-6. First, the Government

 details the property which it is able to return to Petitioner. Id at 3-4. Second, the Government

 sets forth items which are not listed in the Consent Order, but which the Government argues it is

 unable or not required to return. Id at 4-5. The Government argues that it is unable to return

 certain items containing classified information as well as other items belonging to the

 Govemment. Id With regard to the third category (personal files and electronic media located

 on forfeited electronics), the Govemment argues that because Petitioner "signed a consent order

 of forfeiture listing numerous electronics without any exceptions or caveats," he "waived any

 claim whatsoever to the property set forth in the consent order of forfeiture." ECF No. 211 at 5.

 As such, the Govemment argues that Petitioner forfeited all contents on the forfeited devices and

 is not entitled to the retum of such media or data. ECF No. 211 at 6.

        IV.     ANALYSIS


        For the reasons stated herein, the Court finds that the Govemment must retum certain

 property to Petitioner, while certain other property is not to be retumed.
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        A.      PROPERTY THE UNITED STATES IS ORDERED TO RETURN


    In its Response, the Government notes that it "has reviewed the property associated with this

 case that is in its possession and is able to return" certain items "because they are [Petitioner's]

 property, they were not forfeited, they do not contain classified material, and possession of the

 items is not otherwise unlawful" ECF No. 211 at 3. The items in this category include: "(1)one

 folder containing TSP, bank and medical records; (2) one David Clark headset;(3) one bag of

 travel documents and photos related to a Belarus trip; (4) one bag of tax and school related

 documents and an ECPI identification card;(5) one large bag with blank DVDs;(6) one bag of

 loose digital media and DVDs;(7) one Minolta 35mm camera;(8) one box of large black trash

 bags and roll of white electrical tape used at a dead drop;(9) one Tom Tom GPS and power

 cord;(10) 2 keys;(11) one camouflage backpack; (12) three Zippo lighters bearing submarine

 logos; (13) PNY 4GB USB drive; (14) Gray My Flash thumb drive and a black and gray

 microscan disk; (15) 13 hard drives found in buckets of liquid behind Hoffman's house; (16)

 Sony 32MB memory stick; (17) 30 CDs;(18) CDSA SSN-21 operator training course binder;

(19) Notebook and paper;(20) Green notebook;(21)lA training certificates;(22) Manila folder

 containing handwritten notes; (23) 2 Post-It notes containing handwritten notes; (24) Kodak

 VI073 camera;(25) Small spiral notebook containing handwritten notes; and (26) Orange Mead

 notebook containing handwritten notes." ECF No. 211 at 3.

    Upon consideration of Petitioner's Motion, the Govemment's Response, and Petitioner's

 Reply, the Court FINDS that each ofthese items should be retumed to Petitioner.

    Petitioner requests that the items be retumed directly to his mother, Ms. Joan Hoffman, at an

 address in Buffalo, New York. ECF No. 208 at 8. The Court will not order the Government to

 send the items directly to Petitioner's mother. However, the Court would like the Govemment's
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 position on shipping the items to Buffalo, New York. As such, the Court ORDERS that the

 Government submit within fourteen (14) days from the issuance of this Order a brief

 memorandum outlining its position regarding sending such items to a location in Buffalo, New

 York where Petitioner's mother could pick them up and execute a receipt for such items.

        B.     PROPERTY THE UNITED STATES IS NOT ORDERED TO RETURN


                1.     Property Not Included in the Consent Order of Forfeiture, but Which
                       the Government is Not Required to Return

        The Court finds that certain items not included in the Consent Order, ECF No. 128, must

 not be retumed to Petitioner. These items include certain items containing classified information

 and items belonging to the Government.

        First, the Government notes that multiple requested items contain classified information.

 ECF No. 211 at 4. These items are as follows:(1) notebook with basic submarine qualification

 notes; (2) documents marked classified; (3) purple verbatim thumb drive; (4) green verbatim

 thumb drive;(5) notes with schematics and a list of boats with month, year and geolocation. Id

 Plaintiff does not contest these representations in his Reply but rather, "agrees that he is not

 entitled to...items that are properly determined to be classified." ECF No. 212 at 2. The Court

 finds that not only does Petitioner "lack[] entitlement to lawful possession of such seized

 property due to its classified nature, but providing such classified items to Petitioner would pose

 potential security risks. Hill. 296 F.R.D. at 414 (intemal quotations removed). As such, the

 Court finds that these items must not be retumed to Petitioner.


        Second, there are two items that are Government property and therefore, should not be

 retumed to Petitioner. The Govemment represents that the first item in this category consists of

 "transmittal receipts for classified materials, but which become unclassified upon removal of the

 enclosures, which are not present." ECF No. 211 at 5. The Govemment represents that such
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 "transmittal receipts are government property in the first instance" and therefore "never belonged

 to" Petitioner. Id The second item is a "black and red SanDisk USB drive that [Petitioner] left

 behind at a dead drop." Id The Government argues that "[wjhen [Petitioner] left the USB drive

 at a dead drop for someone he believed to be a Russian agent to pick it up, he clearly

 relinquished both possession of and title to that USB drive." Id Similar to the items containing

 classified information, Plaintiff does not contest these representations in his Reply and instead,

 "agrees that he is not entitled to...property that is not rightfully his." ECF No. 212 at 2. The

 Court agrees with the Government's position and finds that Petitioner "lacks entitlement to

 lawfiil possession of these items, one of which has always been Govemment property and the

 other became Govemment property when Petitioner relinquished his possession and title of it by

 leaving it at a "dead drop."      Hill. 296 F.R.D. at 414 (intemal quotations removed); ECF No.

 211 at 5. As such, the Court finds that the transmittal receipts and the SanDisk USB drive must

 not be retumed to Petitioner.


                 2.     Petitioner's Personal Files and        Media Contained on Forfeited
                        Electronics


          Finally, the Court finds that Petitioner is not entitled to the retum of "[c]opies of all

 electronic media...from the devices forfeited pursuant to" the Consent Order. ECF Nos. 208 at

 4,128.

          Petitioner argues that such electronic media (including "family and professional photos,

 videos and documents") should be retumed because he is merely requesting the retum of media

 on the forfeited devices, and "not the forfeited devices themselves." ECF No. 208 at 6.

 Petitioner argues that because such electronic media is "a wholly distinct and separate piece of

 property from the storage medium," none of this "requested property was ever forfeited." Id at

 5, 7. In support of this position. Petitioner argues that "the forfeiture order and the search
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 warrants are devoid of language requiring the forfeiture or seizure of non-responsive items, i.e.

 electronic family media, and only discusses [sic] physical devices or media related to defendant's

 conviction ...." Id. at 5.

          In response, the Government notes that "[njothing in the consent order of forfeiture in

 this case suggests that anything other than the electronic devices in their entirety were forfeited."

 ECF No. 211 at 10. Noting that the Fourth Circuit has not ruled on this issue, the Government

 cites to United States v. Noves. in which the court determined that where petitioner "requested

 the return of certain files and programs contained on the forfeited computers," "the computers as

 a whole including all of their files and programs, were subject to the forfeiture order." 557 F.

 App'x 125, 127(3d Cir. 2014).

          Similar to the computers at issue in Noves. the Court finds that Petitioner's electronic

 devices as a whole, including all of their files and programs, were subject to the Consent Order.

 The language of the Consent Order clearly states that "[t]he United States shall seize all forfeited

 property and shall take full and exclusive custody and control of same" and "shall have clear title

 to the property." ECF No. 128 at        2, 4. Further, much like the forfeiture statute at issue in

 Noves. there is no language in 18 U.S.C. § 794(d)(the applicable forfeiture statute) indicating

 that only a portion ofthe forfeited property can be forfeited. 557 F. App'x at 127.

          For these reasons, the Court finds that the devices subject to the Consent Order of

 Forfeiture were forfeited in their entirety. As such, the Government is not required to return any

 requested electronic media located on such devices to Petitioner.

     V.      CONCLUSION

          For the reasons set forth above, the Court GRANTS IN PART and DENIES IN PART

 Petitioner's Motion for Return of Seized Property, ECF No. 208, and hereby ORDERS as

 follows:

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        The Court GRANTS Petitioner's Motion as to the items listed in section IV.A. of this

 Order. However, before ordering the return of the items in section IV.A. of this Order, the Court

 ORDERS that the Government submit within fourteen (14) days from the issuance of this Order

 a brief memorandum outlining its position regarding sending such items to a location in Buffalo,

 New York where Petitioner's mother could pick them up and execute a receipt for such items.

        The Court DENIES Petitioner's Motion as to all other items requested and ORDERS

 that the Government is not required to return to Petitioner any items not listed in section IV.A. of

 this Order for the reasons stated herein.


        The Clerk is DIRECTED to forward a copy of this Order to Petitioner and all Counsel of

 Record.


        IT IS SO ORDERED.




                                                      UNITED STATES DISTRICT JUDGE


 Norfolk,
 November       2018
